40 F.3d 1250
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.TIELEMAN FOOD EQUIPMENT B.V., and Lindholst &amp; Co., A/S,Plaintiffs-Appellees,v.STORK GAMCO INC., and Stork PMT B.V., Defendants-Appellants.
    No. 94-1326.
    United States Court of Appeals, Federal Circuit.
    Oct. 19, 1994.
    
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      N.D.Ga.
    
    
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      REACTIVATED.
    
    ORDER
    
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      The order disposing of the last motion subject to Fed.R.App.P. 4(a)(4) having been filed in the United States District Court/NORTHERN DISTRICT OF GEORGIA, it is
    
    
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      ORDERED that the appeal be, and the same hereby is, REACTIVATED effective October 20, 1994.
    
    
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      The appellant's brief is due on December 19, 1994.
    
    